Case:15-23985-EEB Doc#:639 Filed:11/10/17               Entered:11/10/17 13:25:37 Page1 of 9



                    UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF COLORADO
 In re:                                )
                                       ) Case No. 15-23985-EEB
 DON RICHARD ILEY,                     ) Chapter 7
                                       )
            Debtor.                    )
                                       )
 In re:                                ) Case No. 15-23986-EEB
                                       ) Chapter 7
 ILEY & ASSOCIATES, INC.,              )
                                       ) Jointly Administered Under
            Debtor.                    ) Case No. 15-23985-EEB
 TOM H. CONNOLLY,                                    )
 Chapter 7 Trustee,                                  )
                                                     ) Adversary Proceeding No. 17-
               Plaintiff,                            )
                                                     )
 v.                                                  )
                                                     )
 DENVER CONTRACTORS, INC. AND                        )
 KANSAS CITY CONTRACTORS, INC.,                      )
                                                     )
              Defendants.                            )
                                                     )

                                          COMPLAINT


        Tom H. Connolly, as chapter 7 trustee (“Trustee”), files this Complaint and states as
 follows:

                                       INTRODUCTION

          Don Iley operated a fraudulent payroll scheme through Iley & Associates, Inc. Iley &
 Associates processed payroll for more than 140 clients and withdrew money from the clients’
 bank accounts to pay the employees’ wages and was supposed to pay the federal, state, and local
 payroll taxes to the appropriate taxing authority. However, Iley failed to pay the federal payroll
 taxes on behalf of his clients from 2011 through 2015. Iley concealed his scheme by creating and
 filing false payroll tax returns for his clients.

        Instead of paying his clients’ payroll taxes as he promised, Iley used the money for
 personal and business purposes, including (1) to pay $260,000 for the design, construction,
 landscaping, and furnishing of his residence, (2) to pay $900,000 in accelerated principal
 payments on Iley’s mortgage; (3) to make more than $1,000,000 in payments in business

                                                 1
Case:15-23985-EEB Doc#:639 Filed:11/10/17               Entered:11/10/17 13:25:37 Page2 of 9



 ventures and retirement accounts; (4) to pay hundreds of thousands of dollars in various business
 expenses for Iley & Associates; and (5) to pay for numerous personal expenses, including his
 children’s college tuition.

         On April 18, 2017, Iley pleaded guilty to wire fraud under 18 U.S.C. § 1343 and aiding in
 the preparation of false tax returns under 26 U.S.C. § 7206(2). Iley admitted to improperly using
 at least $11,000,000 from his payroll clients. Iley received a sentence of 151 months of
 incarceration, followed by 36 months of supervised release.

         Some of Iley’s former clients discovered the scheme and began demanding money from
 Iley. In total, Iley paid more than $2,660,000 to and for the benefit of certain former clients who
 demanded money. Denver Contractors, Inc. (“Denver Contractors”) and Kansas City
 Contractors, Inc. (“KC Contractors”) were two of those clients. Less than 90 days before
 creditors who were not paid forced Iley into bankruptcy, Iley paid a total of $15,654.21 to the
 IRS for the benefit of Denver Contractors, a total of $13,584.57 to the IRS for the benefit of KC
 Contractors, and $37,882.80 directly to Denver Contractors. Trustee seeks to recover these
 payments for the benefit of creditors.

                            JURISDICTION, VENUE, AND STERN

         1.      The underlying bankruptcy cases were commenced on December 28, 2015, when
 creditors filed involuntary chapter 7 petitions against Don Richard Iley and Iley & Associates,
 Inc. Prior to ruling on the involuntary petitions, Don Iley and Iley & Associates moved to
 convert the cases to chapter 11. On January 26, 2016, the Court entered orders converting the
 cases to chapter 11 and entered orders for relief.

        2.     On February 2, 2016, the Court entered an order jointly administering the
 underlying bankruptcy cases of Don Iley and Iley & Associates.

        3.      On May 11, 2016, the Court entered orders converting the bankruptcy cases to
 chapter 7. Trustee was appointed trustee in each case.

         4.      On November 16, 2016, the Court entered an order substantively consolidating
 the assets and liabilities of the estates of Don Iley and Iley & Associates.

        5.      This Court has jurisdiction pursuant to 28 U.S.C. § 1334(b) and 28 U.S.C.
 § 157(a).

        6.      This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(F) and (H).

        7.      Venue is proper in this district pursuant to 28 U.S.C. § 1409(a).

        8.      Trustee consents to entry of final judgment by this Court.




                                                 2
Case:15-23985-EEB Doc#:639 Filed:11/10/17                 Entered:11/10/17 13:25:37 Page3 of 9



                                   GENERAL ALLEGATIONS

        Background

         9.     Don Iley became a certified public accountant in 1996 and in the same year
 formed Iley & Associates. Through Iley & Associates, Don Iley provided accounting, tax,
 bookkeeping, and payroll services. From 1996 through 2015, Don Iley was the sole owner and
 officer and exercised sole control over the finances of Iley & Associates. Don Iley and Iley &
 Associates may be collectively referred to as “Iley.”

         10.    The payroll services offered by Iley & Associates involved helping clients
 calculate, withhold, and pay payroll taxes to the relevant taxing authorities. For each payroll
 period for his payroll clients, Iley was supposed to calculate the clients’ federal, state, and local
 payroll taxes, including social security and Medicare taxes (collectively, the “Employment
 Taxes”).

         11.     Iley had access to each of the payroll clients’ bank accounts. For each of the
 clients’ payroll periods, Iley would calculate the wages owed to the payroll clients’ employees
 and the Employment Taxes. Iley would then transfer two sums from each payroll client’s account
 into an Iley & Associates account. The first amount would be for the net wages owed to the
 payroll client’s employees. The second amount would be for the Employment Taxes.

         12.    Iley would then direct deposit the wages owed to payroll client’s employees
 directly into their bank accounts. Iley was then supposed to pay the corresponding clients’
 Employment Taxes to the relevant taxing authorities, such as the Department of Treasury,
 Colorado Department of Revenue, and City of Denver. Iley did so for the Employment Taxes
 owed to the Colorado Department of Revenue and the City of Denver.

        13.    Iley would calculate and prepare IRS Forms 940 and 941, among others, to report
 the amount of wages and Employment Taxes paid by the payroll clients. Iley would submit these
 forms to the payroll clients and represent to each that forms were filed and the federal
 Employment Taxes were paid.

        The Criminal Scheme

         14.   In January 2009, Iley experimented with failing to pay the federal Employment
 Taxes on behalf of certain payroll clients. By January 2011, Iley expanded his scheme to include
 every payroll client for whom he provided payroll services. From January 2011 through
 December 2015, Iley paid all state and local Employment Taxes, but systematically failed to pay
 the federal Employment Taxes. Instead, Iley used that money for personal and business purposes.

         15.    To conceal the scheme, Iley caused his employees to send to each payroll client a
 Form 941, which correctly calculated the federal Employment Taxes, along with a cover letter
 that represented that the Form 941 included with each letter was a file copy of the actual Form
 941 filed with the IRS, and that Iley had paid or would pay the taxes. For example, a typical


                                                  3
Case:15-23985-EEB Doc#:639 Filed:11/10/17                 Entered:11/10/17 13:25:37 Page4 of 9



 cover letter read: “Please find enclosed a file copy of your 2nd quarter payroll tax filings for your
 records. Don lley pays your taxes, so there is nothing more that you need to do . . . .”

        16.     Instead of filing the federal Form 941 that Iley sent to each of his payroll clients
 (which correctly calculated the federal Employment Taxes), Iley created and filed false Form
 941 returns with the Internal Revenue Service that showed that each payroll client had no
 Employment Taxes due and owing and had paid no wages. Iley did this for each payroll client
 for each quarter from January 2011 through the discovery of his scheme in 2015.

        17.     In about September 2015, certain clients became aware that Iley had failed to pay
 their federal Employment Taxes. Those clients then demanded money from Iley. From
 September 30, 2015 through November 13, 2015, Iley made approximately $1,800,000 in
 payments to the former payroll clients or their principals who had discovered the scheme. In the
 same time period, Iley made payments to the Department of Treasury for the benefit of certain of
 the payroll clients that had discovered the scheme in the aggregate amount of approximately
 $866,000.

         18.     The vast majority of Iley’s former payroll clients were not so fortunate and did
 not learn of the scheme until money was gone and these bankruptcy cases were commenced. In
 fact, despite the discovery of the scheme months before, Iley continued to collect money through
 November 18, 2015 from payroll clients who remained unaware of the fraudulent scheme.

        19.    On April 18, 2017, Iley pleaded guilty to wire fraud under 18 U.S.C. § 1343 and
 aiding in the preparation of false tax returns under 26 U.S.C. § 7206(2). Iley admitted to
 improperly using at least $11,000,000 from his payroll clients. A copy of Don Iley’s plea
 agreement, which details the scheme, is attached as Exhibit 1. Don Iley received a sentence of
 151 months of incarceration, followed by 36 months of supervised release.

        20.     Don Iley and Iley & Associates were insolvent. Within a year of starting the
 scheme, Don Iley and Iley & Associates owed millions to payroll service clients, and the debts
 continued to grow as the fraud continued. After the scheme began, the assets of Don Iley and Iley
 & Associates were always less than the debts resulting from the scheme because Iley spent a
 portion of the money on his lifestyle and paying for expenses of Iley & Associates.

         21.    Creditors, including Iley’s victims / former payroll clients, filed claims in these
 cases in an aggregate amount of more than $23,000,000.

        The Transfers

        22.    Denver Contractors and KC Contractors were payroll services clients of Iley &
 Associates. For each payroll period, Iley withdrew funds from Denver Contractors’ and KC
 Contractors’ bank accounts to pay their respective Employment Taxes. Iley failed to pay
 Employment Taxes for either Denver Contractors or KC Contractors. Instead, Iley used the
 money for personal and business purposes.




                                                  4
Case:15-23985-EEB Doc#:639 Filed:11/10/17              Entered:11/10/17 13:25:37 Page5 of 9



         23.    On information and belief, Denver Contractors and KC Contractors are owned
 and controlled by Bradford Starnes. Denver Contractors and KC Contractors discovered that Iley
 had failed to pay the federal Employment Taxes for Denver Contractors and KC Contractors and
 demanded money from Iley.

        24.    In October 2015, Iley wrote checks payable to the Department of Treasury in the
 aggregate amount of $15,654.21 for the benefit of Denver Contractors as follows (the “Denver
 Contractors Treasury Payments”):

         Account No.        Check No.              Date                Amount
        4136             23136                10/28/2015        $5,573.04
        4136             23137                10/28/2015        $4,915.30
        4136             23138                10/28/2015        $4,054.07
        4136             23142                10/28/2015        $1,111.80

 Copies of the Denver Contractors Treasury Payments are attached as Exhibit 2.

        25.    Also in October 2015, Iley wrote checks payable to the Department of Treasury in
 the aggregate amount of $13,584.57 for the benefit of KC Contractors as follows (the “KC
 Contractors Treasury Payments” and with the Denver Contractors Treasury Payments, the
 “Treasury Payments”):

         Account No.        Check No.              Date                Amount
        4136             23139                10/20/2015        $4,372.01
        4136             23140                10/28/2015        $3,686.79
        4136             23141                10/28/2015        $4,457.93
        4136             23143                10/28/2015        $1,067.84

 Copies of the Denver Contractors Treasury Payments are attached as Exhibit 3.

        26.     On November 3, 2015, Iley wrote a check to cash in the amount of $37,889.80 to
 purchase a cashier’s check in the amount of $37,882.80 that was also payable to cash (the
 “Direct Payment”). Denver Contractors deposited the Direct Payment on November 4, 2015.
 Copies of the check to cash, the $7.00 fee for the cashier’s check, the cashier’s check to cash,
 and the deposit slip to Denver Contractor’s account are attached as Exhibit 4.

       27.     Denver Contractors and KC Contractors did not file claims in the underlying
 bankruptcy cases.

                               FIRST CLAIM FOR RELIEF
                 (Avoidance of the Treasury Payments and Direct Payments
                        Pursuant to 11 U.S.C. §§ 547 and 550(a)(1))

        28.    Trustee incorporates his previous allegations.



                                                5
Case:15-23985-EEB Doc#:639 Filed:11/10/17              Entered:11/10/17 13:25:37 Page6 of 9




        29.    The Treasury Payments and the Direct Payment were transfers of an interest in
 property of Iley & Associates as the money for the Treasury Payments came from Iley &
 Associates’ bank account ending in 4136 at U.S. Bank.

        30.    On information and belief, at the time of the Treasury Payments and the Direct
 Payment, Iley & Associates owed debts to Denver Contractors and KC Contractors in an amount
 exceeding the amount of the Treasury Payments and the Direct Payment.

        31.    The Treasury Payments and the Direct Payment were for or on account of an
 antecedent debt owed by Iley & Associates resulting from Iley’s scheme.

         32.     The Treasury Payments and the Direct Payment were made within 90 days prior
 to the petition date.

       33.    At the time of the Treasury Payments and the Direct Payment, Don Iley and Iley
 & Associates were hopelessly insolvent. They each owed millions of dollars as the result of the
 scheme and had substantially less in assets.

      34.     The Treasury Payments and the Direct Payment enabled Denver Contractors and
 KC Contractors to receive more than they would receive if:

               a.     The cases were cases under chapter 7;

               b.     The Treasury Payments and the Direct Payment had not been made; and

               c.     Denver Contractors and KC Contractors received payment in accordance
                      with the provisions of title 11.

        35.    The Treasury Payments and the Direct Payment are avoidable under 11 U.S.C.
 § 547(b).

        36.   Trustee is entitled to judgment against Denver Contractors in the amount of the
 Treasury Payments and the Direct Payment from Denver Contractors under 11 U.S.C.
 § 550(a)(1).

       37.    Trustee is entitled to judgment in the amount of the KC Contractors Treasury
 Payments against KC Contractors under 11 U.S.C. § 550(a)(1).

                             SECOND CLAIM FOR RELIEF
                 (Avoidance and Recovery of the Direct Payment Pursuant to
                          11 U.S.C. §§ 548(a)(1)(A) and 550(a)(1))

        38.    Trustee incorporates his previous allegations.



                                                6
Case:15-23985-EEB Doc#:639 Filed:11/10/17               Entered:11/10/17 13:25:37 Page7 of 9



         39.   The Direct Payment was a transfer of an interest in property of Iley & Associates
 as the money for the Direct Payment came from Iley & Associates’ bank account ending in 4136
 at U.S. Bank.

        40.     The Direct Payment was made within two years prior to the petition date.

         41.     To the extent Denver Contractors asserts the Direct Payment was not for or on
 account of an antecedent debt, Iley & Associates made such portion of the Direct Payment to
 hinder, delay, or defraud his creditors, including the payroll clients.

        42.     Actual fraudulent intent is shown by, among other things, the following:

                 a.      In the plea agreement, Iley admitted his intent to defraud the payroll
 service clients of Iley & Associates. At all times, Iley was the sole owner, officer, and person in
 control of Iley & Associates and used Iley & Associates to facilitate his scheme;

                b.     Before the Direct Payment was made, Iley and Iley & Associates had been
 sued by payroll services clients, had been sanctioned by the Colorado State Board of
 Accountancy for failing to pay taxes for payroll services clients, and had been threatened with
 suit by former payroll services clients. Don Iley was engaged in a brazen criminal enterprise to
 defraud his payroll clients. Don Iley’s criminal scheme to defraud his payroll clients and use
 their money for his personal purposes always carried the certainty of litigation by the payroll
 clients he was defrauding and criminal prosecution. The question was when, not if. Both
 eventually occurred, even though Don Iley carefully refined the scheme after his first attempt
 was discovered and he was sued and professionally reprimanded;

                c.      To the extent Denver Contractors asserts the Direct Payment was not for
 or on account of an antecedent debt, Iley & Associates received no economic value in exchange
 for such portion of the Direct Payment;

                 d.      Iley and Iley & Associates were hopelessly insolvent. Specifically, Iley
 and Iley & Associates owed millions to payroll service clients as the result of the fraudulent
 scheme, and the debts continued to grow as the fraud continued. Moreover, despite the fact that
 his scheme had been discovered and Iley & Associates paid approximately $2,660,000 to or for
 the benefit of payroll clients who had discovered the scheme, Iley continued to process payroll
 for clients who had not yet learned of his scheme through November 18, 2015. Iley admitted to
 bilking his clients out of approximately $11,000,000; and

                 e.     Don Iley also concealed assets and failed to disclose material financial
 transactions, including (i) a $200,000 payment to his wife, Mary Iley, made shortly before the
 bankruptcy, (ii) his contribution of more than $500,000 to IRAs in the two years prior to the
 bankruptcy, (iii) his ownership interest in a 401(k) with a value of more than $150,000, (iv) his
 ownership of four additional life insurance policies with cash surrender value, and (v) his
 withdrawal of money from the IRAs and the undisclosed 401(k) after the bankruptcy was
 commenced.


                                                 7
Case:15-23985-EEB Doc#:639 Filed:11/10/17              Entered:11/10/17 13:25:37 Page8 of 9



          43.    To the extent the Direct Payment was not for or on account of an antecedent debt,
 it is avoidable under 11 U.S.C. § 548(a)(1)(A).

       44.    Trustee is entitled to judgment in the amount of the Direct Payment against
 Denver Contractors under 11 U.S.C. § 550(a)(1).

                               THIRD CLAIM FOR RELIEF
                      (Avoidance and Recovery of the Direct Payment
                     Pursuant to 11 U.S.C. §§ 548(a)(1)(B) and 550(a)(1))

        45.    Trustee incorporates his previous allegations.

         46.   The Direct Payment was a transfer of an interest in property of Iley & Associates
 as the money for the Direct Payment came from Iley & Associates’ bank account ending in 4136
 at U.S. Bank.

        47.    The Direct Payment was made within two years prior to the petition date.

         48.    To the extent that the Direct Payment was not for or on account of an antecedent
 debt, Iley & Associates did not receive reasonably equivalent value for the Direct Payment.

         49.     Iley and Iley & Associates were hopelessly insolvent. Specifically, Iley and Iley
 & Associates owed millions to payroll service clients as the result of the fraudulent scheme, and
 the debts continued to grow as the fraud continued. Moreover, despite the fact that his scheme
 had been discovered and Iley & Associates paid approximately $2,660,000 to or for the benefit
 of payroll clients who had discovered the scheme, Iley continued to process payroll for clients
 who had not yet learned of his scheme through November 18, 2015. Iley admitted to bilking his
 clients out of approximately $11,000,000.

        50.    The Direct Payment is avoidable under 11 U.S.C. § 548(a)(1)(B).

       51.    Trustee is entitled to judgment in the amount of the Direct Payment against
 Denver Contractors under 11 U.S.C. § 550(a)(1).

       WHEREFORE, Trustee respectfully requests that this Court enter an Order and
 Judgment:

              a.     pursuant to 11 U.S.C. § 547, avoiding the Denver Contractors Treasury
        Payments and the Direct Payment and entering judgment in Trustee’s favor and against
        Denver Contractors under 11 U.S.C. § 550(a)(1) in the amount of $53,537.01;

               b.     pursuant to 11 U.S.C. § 547, avoiding the KC Contractors Treasury
        Payments and entering judgment in Trustee’s favor and against KC Contractors under 11
        U.S.C. § 550(a)(1) in the amount of $13,584.57;



                                                8
Case:15-23985-EEB Doc#:639 Filed:11/10/17            Entered:11/10/17 13:25:37 Page9 of 9



               c.    pursuant to 11 U.S.C. §§ 548(a)(1)(A) and (B) avoiding any portion of the
       Direct Payment not made for or on account of an antecedent debt and entering judgment
       against Denver Contractors under 11 U.S.C. § 550(a)(1) in such amount; and

              d.     granting any additional relief the Court deems just and proper.

 Dated: November 10, 2017                  Respectfully submitted,

                                           ONSAGER | FLETCHER | JOHNSON, LLC

                                            s/ Gabrielle Palmer
                                              Andrew D. Johnson, #36879
                                              Gabrielle G. Palmer, #48948
                                           1801 Broadway, Suite 900
                                           Denver, Colorado 80202
                                           Ph: (720) 457-7059
                                           ajohnson@OFJlaw.com
                                           gpalmer@OFJlaw.com
                                           Counsel for Tom H. Connolly as Chapter 7 Trustee




                                              9
